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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 17-61716-CIV-DIMITROULEAS/SNOW

  DANIEL MONCADA,

         Plaintiff,
  vs.

  LESLIE’S POOLMART, INC.,
  a foreign for-profit corporation,

        Defendant.
  ______________________________________/

                                   JOINT NOTICE OF SETTLEMENT
         Plaintiff DANIEL MONCADA and Defendant LESLIE’S POOLMART, INC., by and

  through their undersigned Counsel, hereby provide notice that the parties have reached a settlement

  in principle and will be executing a confidential settlement agreement resolving all claims and

  matters in the case. Upon execution of a Confidential Settlement Agreement, the parties will file a

  Joint Stipulation for Dismissal with this Court.

  By:    /s/ Roderick V. Hannah                        By: /s/ Monica L. Irel
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